   Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 1 of 74

              Nos. 24-3188, 24-3559, 24-4029


      IN THE UNITED STATES COURT OF APPEALS
              FOR THE NINTH CIRCUIT


                 MI FAMILIA VOTA, et al.,

                                  Plaintiffs-Appellees

                             v.

                  ADRIAN FONTES, et al.,

                                  Defendants-Appellees

                WARREN PETERSEN, et al.,

                                  Intervenors-Defendants-
                                  Appellants/Cross-Appellees


ON APPEAL FROM THE UNITED STATES DISTRICT COURT
          FOR THE DISTRICT OF ARIZONA


     BRIEF FOR THE UNITED STATES AS APPELLEE


                                  KRISTEN CLARKE
                                   Assistant Attorney General

                                  BONNIE I. ROBIN-VERGEER
                                  JONATHAN L. BACKER
                                  MATTHEW N. DRECUN
                                   Attorneys
                                   Department of Justice
                                   Civil Rights Division
                                   Appellate Section
                                   Ben Franklin Station
                                   P.O. Box 14403
                                   Washington, D.C. 20044-4403
                                   (202) 532-3528
                   Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 2 of 74




                                       TABLE OF CONTENTS

                                                                                                               PAGE

INTRODUCTION .................................................................................................... 1

STATEMENT OF JURISDICTION ......................................................................... 4

STATEMENT OF THE ISSUES .............................................................................. 4

STATEMENT OF THE CASE.................................................................................. 5

        A.       Statutory Background ........................................................................... 5

                 1.       NVRA ........................................................................................ 5

                 2.       Materiality Provision ................................................................. 6

        B.       Factual Background.............................................................................. 7

                 1.       H.B. 2492’s Documentary-Proof-Of-Citizenship
                          Requirements ............................................................................. 8

                 2.       H.B. 2492’s Birthplace and Citizenship-Checkbox
                          Requirements for the State Form ............................................... 8

        C.       Procedural Background ........................................................................ 9

STANDARD OF REVIEW .................................................................................... 17

SUMMARY OF ARGUMENT ............................................................................... 18

ARGUMENT

        I.       The NVRA preempts H.B. 2492’s requirement that
                 federal-only voters provide documentary proof of
                 citizenship to vote in presidential elections. ...................................... 21

                 A.       Congress possesses power to regulate
                          presidential elections. ............................................................... 22
                    Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 3 of 74




TABLE OF CONTENTS (continued):                                                                                  PAGE

                  B.       The NVRA also is a valid exercise of Congress’s
                           power to enforce the Fourteenth and Fifteenth
                           Amendments. ........................................................................... 27

         II.      Because Arizona uses the Federal Form to determine
                  eligibility to vote by mail, it must accept that Form
                  for that purpose................................................................................... 33

         III.     The State Form’s birthplace and citizenship-checkbox
                  requirements violate the Materiality Provision. ................................. 35

                  A.       Arizona’s birthplace requirement violates the
                           Materiality Provision. .............................................................. 36

                  B.       Appellants’ defenses of the birthplace requirement
                           lack merit.................................................................................. 43

                           1.       Appellants misinterpret the term “material.”................. 43

                           2.       The State’s “legislative judgment” does not
                                    warrant additional deference. ........................................ 45

                           3.       The birthplace requirement is not material
                                    in determining identity. .................................................. 46

                           4.       The birthplace requirement is not material in
                                    determining citizenship.................................................. 54

                  C.       The citizenship-checkbox requirement is not material
                           in determining the qualifications of Arizona voters. ............... 56

                  D.       Intervenors’ attempt to narrow the Materiality
                           Provision to ad hoc voting procedures is unfounded............... 59

CONCLUSION ....................................................................................................... 63

CERTIFICATE OF COMPLIANCE


                                                         - ii -
                   Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 4 of 74




                                   TABLE OF AUTHORITIES

CASES:                                                                                               PAGE

Allen v. Milligan, 599 U.S. 1 (2023) ........................................................................30

Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986) ............................................37

Arizona v. Inter Tribal Council of Ariz., Inc., 570 U.S. 1 (2013).................... passim

Association of Cmty. Orgs. for Reform Now (ACORN) v. Edgar,
      56 F.3d 791 (7th Cir. 1995) ...........................................................................26

Association of Cmty. Orgs. for Reform Now (ACORN) v. Edgar,
      880 F. Supp. 1215 (N.D. Ill.), aff’d in relevant part,
      56 F.3d 791 (7th Cir. 1995) ...........................................................................32

Association of Cmty. Orgs. for Reform Now v. Miller,
      129 F.3d 833 (6th Cir. 1997) .........................................................................26

Association of Cmty. Orgs. for Reform Now v. Miller,
      912 F. Supp. 976 (W.D. Mich. 1995),
      aff’d, 129 F.3d 833 (6th Cir. 1997) ...............................................................32

Bear Valley Mut. Water Co. v. Jewell, 790 F.3d 977 (9th Cir. 2015) .....................27

Buckley v. Valeo, 424 U.S. 1 (1976) (per curiam) ....................................... 13, 23-24

Burroughs v. United States, 290 U.S. 534 (1934) ........................................... passim

Chiafalo v. Washington, 591 U.S. 578 (2020) .........................................................25

City of Boerne v. Flores, 521 U.S. 507 (1997) ........................................................30

City of Rome v. United States, 446 U.S. 156 (1980) ......................................... 29-30

Condon v. Reno, 913 F. Supp. 946 (D.S.C. 1995) ...................................................32

Cone v. Bell, 556 U.S. 449 (2009) ..................................................................... 37-38

                                                    - iii -
                   Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 5 of 74




CASES (continued):                                                                                    PAGE

County of Maui v. Hawaii Wildlife Fund, 590 U.S. 165 (2020) ..............................52

Crawford v. Marion Cnty. Election Bd., 553 U.S. 181 (2008) ................................32

Crosby v. National Foreign Trade Council, 530 U.S. 363 (2000) ..........................13

DeFries v. Union Pac. R.R., 104 F.4th 1091 (9th Cir. 2024) ........................... 17, 33

Diaz v. Cobb, 435 F. Supp. 2d 1206 (S.D. Fla. 2006) ................................. 48, 58-59

EEOC v. Wyoming, 460 U.S. 226 (1983) ................................................................28

Ex Parte Yarbrough, 110 U.S. 651 (1884) .............................................. 2, 18, 21-22

Fish v. Kobach, 840 F.3d 710 (10th Cir. 2016) .......................................................26

Florida State Conf. of NAACP v. Browning,
      522 F.3d 1153 (11th Cir. 2008) ............................................................. passim

Griffin v. Breckenridge, 403 U.S. 88 (1971) ...........................................................29

In re Quarles, 158 U.S. 532 (1895) .........................................................................32

Indiana Democratic Party v. Rokita, 458 F. Supp. 2d 775 (S.D. Ind. 2006) ..........49

Katzenbach v. Morgan, 384 U.S. 641 (1966) ..........................................................29

Kobach v. EAC, 772 F.3d 1183 (10th Cir. 2014), cert. denied,
     576 U.S. 1055 (2015).....................................................................................27

La Unión del Pueblo Entero v. Abbott,
     604 F. Supp. 3d 512, 541 (W.D. Tex. 2022) ........................................... 53-54

League of Women Voters of Ark. v. Thurston, No. 5:20-cv-5174,
     2023 WL 6446015 (W.D. Ark. Sept. 29, 2023) ................................ 49-50, 59

Martin v. Crittenden, 347 F. Supp. 3d 1302 (N.D. Ga. 2018) .................................49

                                                    - iv -
                   Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 6 of 74




CASES (continued):                                                                                    PAGE

McConnell v. FEC, 540 U.S. 93 (2003),
    overruled on other grounds by Citizens United v. FEC,
    558 U.S. 310 (2010).......................................................................................23

McCulloch v. Maryland, 17 U.S. (4 Wheat.) 316 (1819) ........................................29

McKinney-Drobnis v. Oreshack, 16 F.4th 594 (9th Cir. 2021) ................... 17-18, 36

McPherson v. Blacker, 146 U.S. 1 (1892) ......................................................... 24-25

Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75 (1998) ............................61

Oregon v. Mitchell, 400 U.S. 112 (1970) ................................................................21

Pennsylvania State Conf. of NAACP Branches v.
     Secretary Commonwealth of Pa.,
     97 F.4th 120 (3d Cir. 2024) ..................................................................... 44-45

Republic of Sudan v. Harrison, 587 U.S. 1 (2019) ..................................................61

Schwier v. Cox, 340 F.3d 1284 (11th Cir. 2003) .......................................... 7, 45, 60

Shelby Cnty. v. Holder, 570 U.S. 529 (2013) ..........................................................30

South Carolina v. Katzenbach, 383 U.S. 301 (1966) ..............................................29

Trump v. Kemp, 511 F. Supp. 3d 1325 (N.D. Ga. 2021) .........................................25

TSC Indus. v. Northway, Inc., 426 U.S. 438 (1976) .......................................... 37-38

U.S. Bank Nat’l Ass’n v. Village at Lakeridge, LLC,
      583 U.S. 387 (2018)........................................................................... 17-18, 36

United States v. Comstock, 560 U.S. 126 (2010).....................................................26

Vote.Org v. Callanen, 89 F.4th 459 (5th Cir. 2023) ........................................ passim

Voting Rts. Coal. v. Wilson, 60 F.3d 1411 (9th Cir. 1995) .............................. passim
                                                     -v-
                    Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 7 of 74




CASES (continued):                                                                                          PAGE

Woods v. Cloyd W. Miller Co., 333 U.S. 138 (1948) ..............................................28

Young v. Fordice, 520 U.S. 273 (1997) .....................................................................5

Yu v. Idaho State Univ., 15 F.4th 1236 (9th Cir. 2021) ...........................................17

Zivotofsky v. Kerry, 576 U.S. 1 (2015) ....................................................................32

CONSTITUTIONS:

U.S. Const. Art. I, § 4, Cl. 1.....................................................................................25

U.S. Const. Art. I, § 8, Cl. 18...................................................................................22

U.S. Const. Art. II, § 1, Cl. 2 ...................................................................................24

U.S. Const. Amend. XII ...........................................................................................26

U.S. Const. Amend. XIV, § 1 ..................................................................................32

U.S. Const. Amend. XIV, § 2 ..................................................................................26

U.S. Const. Amend. XIV, § 5 ..................................................................................28

U.S. Const. Amend. XV, § 2....................................................................................28

U.S. Const. Amend. XXIV, § 1 ...............................................................................26

Ariz. Const. Art. VII, § 2 .........................................................................................38

STATUTES:

Civil Rights Act of 1957
      52 U.S.C. 10101(b) ..........................................................................................6
      52 U.S.C. 10101(c) ..........................................................................................6
      52 U.S.C. 10101(d) ..........................................................................................6
      52 U.S.C. 10101(f)...........................................................................................6
      Pub. L. No. 85-315, § 131(c), 71 Stat. 637......................................................6
                                                       - vi -
                     Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 8 of 74




STATUTES (continued):                                                                                           PAGE

Civil Rights Act of 1960
      52 U.S.C. 10101(e) ..........................................................................................6
      Pub. L. No. 86-449, § 601, 74 Stat. 90-92 .......................................................6

Civil Rigths Act of 1964
      52 U.S.C. 10101...............................................................................................6
      52 U.S.C. 10101(a)(2)(A) ..............................................................................61
      52 U.S.C. 10101(a)(2)(B) ...................................................................... passim
      Pub. L. No. 88-352, § 101, 78 Stat. 241-242...................................................7

Enforcement Act of 1870
      52 U.S.C. 10101(a)(1) .....................................................................................6
      Act of May 31, 1870, ch. 114, § 1, 16 Stat. 140..............................................6

National Voter Registration Act
      52 U.S.C. 20501(a)(1) .....................................................................................5
      52 U.S.C. 20501(a)(3) ...............................................................................5, 30
      52 U.S.C. 20501(b)(2) ...................................................................................13
      52 U.S.C. 20502(2) ..........................................................................................5
      52 U.S.C. 20505...............................................................................................1
      52 U.S.C. 20505(a)(1) ........................................................................... passim
      52 U.S.C. 20505(a)(3) .....................................................................................5
      52 U.S.C. 20505(c) ........................................................................................33
      52 U.S.C. 20505(c)(1) ...................................................................................13
      52 U.S.C. 20505(c)(2) ...................................................................................13
      52 U.S.C. 20507(a) ........................................................................................12
      52 U.S.C. 20508(a)(2) .....................................................................................5
      52 U.S.C. 20508(b)(2) .....................................................................................6

Voting Rights Act of 1965
      52 U.S.C. 10301.............................................................................................30
      52 U.S.C. 10502(a) ........................................................................................29

8 U.S.C. 1401 ...........................................................................................................38

52 U.S.C. 30101(3) ..............................................................................................5, 12



                                                         - vii -
                    Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 9 of 74




STATUTES (continued):                                                                                        PAGE

2022 Ariz. Sess. Laws 568 .........................................................................................7

Ariz. Rev. Stat. Ann.
      § 16-101(A) (2023) ........................................................................................38
      § 16-121.01(A) (2023) ........................................................................ 9, 36, 56
      § 16-121.01(C) (2023) ........................................................................ 8, 38, 58
      § 16-121.01(D) (2023) ...............................................................................8, 56
      § 16-121.01(E) (2023) .....................................................................................8
      § 16-127(A) (2023) ..........................................................................................8
      § 16-152 (2022) ...............................................................................................8
      § 16-152(A)(7) (2022) ...............................................................................9, 36
      § 16-152(A)(14) (2022) .............................................................................9, 56
      § 16-166(F) (2022) ....................................................................................8, 14

REGULATIONS:

59 Fed. Reg. 32,311 (June 23, 1994) .......................................................................51

RULES:

Fed. R. Civ. P. 52(a)(6) ............................................................................................17

LEGISLATIVE HISTORY:

Equal Access to Voting Act of 1989: Hearing on S.675 Before Subcomm.
      on the Const. of the S. Comm. on the Judiciary,
      101st Cong., 1st Sess. (1989) ........................................................................31

H.R. Rep. No. 914, 88th Cong., 1st Sess. (1963) .................................................. 6-7

H.R. Rep. No. 9, 103d Cong., 1st Sess. (1993) .......................................................30

S. Rep. No. 6, 103d Cong., 1st Sess. (1993) ............................................................28

Staff of Subcomm. on Civ. & Const. Rts. of the H. Comm. on the Judiciary,
       98th Cong., After the Voting Rights Act: Registration Barriers
       (Comm. Print 1984) .......................................................................................31

                                                       - viii -
                  Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 10 of 74




MISCELLANEOUS:                                                                                     PAGE

8 Foreign Affs. Manual 403.4-7(A) .........................................................................50

8 Foreign Affs. Manual 403.4-7(B) .........................................................................50

8 Foreign Affs. Manual 403.4-7(C) .........................................................................50

Black’s Law Dictionary (4th rev. ed., 1968) ...........................................................37

U.S. Comm’n on C.R., Voting: 1961 United States Commission on
      Civil Rights Report (1961), perma.cc/WA4A-QEYK ............................. 61-62




                                                   - ix -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 11 of 74




                                 INTRODUCTION

      Arizona House Bill (H.B.) 2492 increases the difficulty for Arizona citizens

to register to vote generally and particularly in federal elections. In 2013, the

Supreme Court held that Section 6 of the National Voter Registration Act (NVRA),

52 U.S.C. 20505, precludes Arizona from requiring an applicant using the federal

mail voter-registration form (the Federal Form) to provide information—i.e.,

documentary proof of citizenship—beyond what the form itself requires. Arizona

v. Inter Tribal Council of Ariz., Inc., 570 U.S. 1, 15, 20 (2013) (ITCA). Instead, the

NVRA requires that States “accept and use,” 52 U.S.C. 20505(a)(1), the Federal

Form “as sufficient” to register to vote in federal elections, ITCA, 570 U.S. at 10.

Attempting to circumvent that precedent, H.B. 2492 requires applicants using the

Federal Form to provide documentary proof of citizenship to vote in presidential

elections or by mail.

      The district court correctly issued a permanent injunction enjoining

enforcement of these aspects of H.B. 2492. The State no longer defends them.

Instead, intervenors Republican National Committee (RNC), Arizona Speaker of

the House Ben Toma, and Arizona Senate President Warren Petersen (collectively,

intervenors) attempt to defend H.B. 2492’s presidential-voting provisions by

arguing that Congress lacks power to regulate presidential elections. But that

argument is foreclosed by Supreme Court precedent dating back more than a
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 12 of 74




century. See Burroughs v. United States, 290 U.S. 534, 545 (1934); Ex Parte

Yarbrough, 110 U.S. 651, 662 (1884); accord Voting Rts. Coal. v. Wilson, 60 F.3d

1411, 1414 (9th Cir. 1995). And H.B. 2492’s mail-voting provisions cannot be

reconciled with the NVRA’s mandate that States “accept and use” the Federal

Form to register for federal elections. 52 U.S.C. 20505(a)(1). Under H.B. 2492,

Arizona would “use” that form to determine applicants’ eligibility to vote by mail

but then impermissibly would not “accept” it as sufficient for that purpose.

      The district court also correctly enjoined provisions of H.B. 2492 that violate

the Materiality Provision of the Civil Rights Act of 1964, 52 U.S.C.

10101(a)(2)(B). The Materiality Provision prohibits denying the right to vote

based on errors or omissions in voting-related papers that are immaterial in

determining a person’s eligibility to vote. It ensures that States cannot encumber

applications and other papers with trivial hurdles and thereby disqualify otherwise-

eligible voters.

      H.B. 2492 violates the Materiality Provision by requiring applicants using

the state voter-registration form (the State Form) to identify their state or country

of birth. The birthplace requirement violates the Materiality Provision because

birthplace itself is not a qualification, nor do election officials use it to determine

the qualifications that the State and intervenors urge here—applicants’ citizenship

status or identity. Applicants born abroad may well be citizens; their birthplace

                                          -2-
               Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 13 of 74




does not determine that. And Arizona makes applicants born in the U.S. provide

documentary proof of citizenship with the State Form, demonstrating that the State

itself does not regard an attestation of American birthplace as material. A robust

trial record likewise shows birthplace’s poor utility as a means of identifying

voters—most of whom, unsurprisingly, give their birthplace as Arizona, Mexico,

or the United States. Birthplace information thus is not likely to have an actual

impact on an election official’s identity determinations either.

      H.B. 2492 also violates the Materiality Provision by requiring applicants

using the State Form to complete a checkbox affirming their citizenship, even

though such applicants are also required to provide documentation proving their

citizenship. No reasonable official would treat a blank checkbox as effectively

overriding the documentation that state law elsewhere deems sufficient to prove

citizenship.

      This Court should affirm the district court’s injunction against enforcement

of these preempted and immaterial provisions of H.B. 2492.




                                         -3-
                 Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 14 of 74




                          STATEMENT OF JURISDICTION

      The United States agrees with the State’s and intervenors’ Statements of

Jurisdiction.

                            STATEMENT OF THE ISSUES

      1. Whether Congress has authority to apply the NVRA to presidential

elections.

      2. Whether H.B. 2492 violates Section 6 of the NVRA by requiring

applicants using the Federal Form as part of the voter-registration process to

provide documentary proof of their United States citizenship as a prerequisite to

voting by mail in federal elections.

      3. Whether H.B. 2492 violates the Materiality Provision—

                a. by requiring election officials to reject state voter-registration

      applications that do not include the applicant’s state or country of birth; and

                b. by requiring election officials to reject state voter-registration

      applications accompanied by documentary proof of the applicant’s

      citizenship if the applicant fails to complete a checkbox on the application

      attesting that they are a United States citizen.




                                            -4-
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 15 of 74




                          STATEMENT OF THE CASE

      A.     Statutory Background

             1.     NVRA

      The NVRA “requires States to provide simplified systems for registering to

vote in federal elections.” Young v. Fordice, 520 U.S. 273, 275 (1997). Congress

enacted the statute in recognition that voting is a “fundamental right,” and in

response to concerns that “discriminatory and unfair registration laws and

procedures can have a direct and damaging effect on voter participation in

elections for Federal office and disproportionately harm voter participation by

various groups, including racial minorities.” 52 U.S.C. 20501(a)(1) and (3).

      Among other things, the NVRA provides that the Election Assistance

Commission (EAC or Commission) “shall develop a mail voter registration

application form for elections for Federal office,” 52 U.S.C. 20508(a)(2), including

presidential elections, 52 U.S.C. 30101(3) (incorporated by 52 U.S.C. 20502(2)).

Section 6 of the NVRA provides that States must “accept and use” this form,

known as the Federal Form, in registering voters for federal elections.

52 U.S.C. 20505(a)(1).

      The NVRA specifies certain elements that the Federal Form must contain,

and otherwise limits the information that applicants must furnish. To confirm the

citizenship status of individuals registering to vote in federal elections, the Form


                                         -5-
               Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 16 of 74




requires applicants to sign, under penalty of perjury, an attestation that they are

United States citizens. 52 U.S.C. 20508(b)(2). In 2013, the Supreme Court held

that Arizona could not—consistent with Section 6 of the NVRA—reject Federal

Form applications unaccompanied by documentary proof of citizenship. Arizona

v. ITCA, 570 U.S. 1, 15 (2013).

              2.    Materiality Provision

       The statute containing the Materiality Provision, 52 U.S.C. 10101, traces its

lineage to the Enforcement Act of 1870. The 1870 Act entitled qualified persons

to vote “without distinction of race, color, or previous condition of servitude; any

constitution, law, custom, usage, or regulation of any State . . . to the contrary

notwithstanding.” Act of May 31, 1870, ch. 114, § 1, 16 Stat. 140 (52 U.S.C.

10101(a)(1)). The Civil Rights Act of 1957 enlarged the statute’s protections and

gave the Attorney General power to enforce it through civil suits. Pub. L.

No. 85-315, § 131(c), 71 Stat. 637 (52 U.S.C. 10101(b)-(d) and (f)); see also Civil

Rights Act of 1960, Pub. L. No. 86-449, § 601, 74 Stat. 90-92 (52 U.S.C.

10101(e)) (authorizing Attorney General to enforce through pattern-or-

practice suits).

       The Civil Rights Act of 1964 amended the statute again to “provide specific

protections to the right to vote,” including the Materiality Provision. H.R. Rep.




                                         -6-
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 17 of 74




No. 914, 88th Cong., 1st Sess. 19 (1963); see Pub. L. No. 88-352, § 101, 78 Stat.

241-242. It states:

      No person acting under color of law shall . . . deny the right of any
      individual to vote in any election because of an error or omission on
      any record or paper relating to any application, registration, or other
      act requisite to voting, if such error or omission is not material in
      determining whether such individual is qualified under State law to
      vote in such election.

52 U.S.C. 10101(a)(2)(B). The Materiality Provision “forbids the practice of

disqualifying potential voters for their failure to provide information irrelevant to

determining their eligibility to vote.” Schwier v. Cox, 340 F.3d 1284, 1294

(11th Cir. 2003).

      B.     Factual Background

      In March 2022, Arizona enacted H.B. 2492. 2022 Ariz. Sess. Laws 568.

The law took effect on January 1, 2023 (1-ER-41), but it was never implemented

(1-ER-15, 60, 69; see also State Br. 16).1




      1
         “__-ER-__” refers to the volume and page numbers of the intervenors’
Excerpts of Record. “__-MFV-SER-__” refers to the volume and page numbers in
the Supplemental Excerpts of Record filed with the Mi Familia Vota plaintiffs’
brief. “Doc. __, at __” refers to the docket entry number and relevant pages of
documents filed in the district court, Mi Familia Vota v. Fontes, No. 2:22-cv-509
(D. Ariz.). “C.A. Dkt. __, at __” refers to the docket entry number and relevant
pages of documents filed in this appeal. “Intervenors’ Br. __” refers to the page
numbers in the RNC’s and legislative leaders’ principal brief. “State Br. __” refers
to the page numbers in the State’s principal brief.
                                         -7-
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 18 of 74




             1.     H.B. 2492’s Documentary-Proof-Of-Citizenship
                    Requirements

      H.B. 2492 requires election officials to check certain databases to confirm

whether individuals registering to vote using the Federal Form are United States

citizens. Ariz. Rev. Stat. Ann. § 16-121.01(D) (2023). If officials cannot verify an

applicant’s citizenship, they must notify the applicant, who must then provide

documentary proof of citizenship—for example, a driver’s license meeting certain

conditions or a United States passport. See id. §§ 16-121.01(E), 16-166(F).

H.B. 2492 prohibits notified applicants who fail to provide documentary proof of

citizenship from voting in presidential elections or by mail. Id. § 16-121.01(E).

The statute also requires individuals who have already registered to vote using the

Federal Form to provide documentary proof of citizenship to vote in presidential

elections or by mail. Id. § 16-127(A).

             2.     H.B. 2492’s Birthplace and Citizenship-Checkbox
                    Requirements for the State Form

      Arizona provides its own voter-registration application, known as the State

Form, that allows individuals to register to vote for State and local elections, as

well as federal elections. See Ariz. Rev. Stat. Ann. § 16-152 (2022). When

registering to vote using the State Form, applicants must provide documentary

proof of citizenship. Id. § 16-121.01(C). The State Form also requires applicants

to attest to their citizenship by checking a box confirming that the applicant is a


                                         -8-
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 19 of 74




United States citizen (the citizenship checkbox). Id. § 16-152(A)(14). H.B. 2492

requires election officials to reject applications without the checkbox marked—

even if the applicant has provided sufficient documentation to prove their

citizenship. Id. § 16-121.01(A).

      H.B. 2492 also requires election officials to reject any State Forms that do

not include the applicant’s birthplace. Ariz. Rev. Stat. Ann. § 16-121.01(A)

(2023). Since at least 1979, Arizona’s State Form has contained a space for

prospective voters to write their “state or country of birth” (i.e., birthplace). State

Br. 4-5; 2-MFV-SER-239 (stipulation #3); Ariz. Rev. Stat. Ann. § 16-152(A)(7)

(2022). Until H.B. 2492’s enactment, however, filling out that field was optional.

State Br. 5-6; 2-MFV-SER-239 (stipulation #3). Approximately one-third of

active and inactive voter records in Arizona’s voter-registration database thus lack

birthplace information. 4-MFV-SER-664. And Arizona election officials do not

use birthplace information to determine whether an individual is a U.S. citizen and

otherwise qualified to vote. See 4-MFV-SER-598-600, 622-623, 627, 754-755.

Despite this, H.B. 2492 requires election officials to reject any State Forms that

omit the applicant’s birthplace. Ariz. Rev. Stat. Ann. § 16-121.01(A) (2023).

      C.     Procedural Background

      1. After H.B. 2492’s enactment, the United States and several private

plaintiffs filed suit challenging various aspects of the legislation, as well as the


                                          -9-
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 20 of 74




concurrently enacted H.B. 2243. E.g., 3-MFV-SER-561-577 (U.S. Complaint).

The district court consolidated the eight lawsuits. Docs. 39, 69, 79, 88, 91, 93,

164, 193. Arizona Speaker of the House Ben Toma, Arizona Senate President

Warren Petersen, and the RNC intervened. Doc. 363; Order, Democratic Nat’l

Comm. v. Hobbs, No. 2:22-cv-1369 Docket Entry No. 18 (D. Ariz. Aug. 24, 2022).

      As relevant here, the United States, along with private plaintiffs, alleged that

H.B. 2492’s presidential- and mail-voting provisions were preempted by Section 6

of the NVRA. E.g., 3-MFV-SER-574. In addition, the United States, along with

private plaintiffs, alleged that H.B. 2492’s citizenship-checkbox and birthplace

requirements violate the Materiality Provision. E.g., 3-MFV-SER-575. Finally,

the United States also alleged that H.B. 2492 violates the Materiality Provision by

requiring applicants registering to vote using the Federal Form or who had

previously registered using that Form (i.e., federal-only voters) to provide

documentary proof of citizenship to vote in presidential elections or by mail.

3-MFV-SER-575-576.

      The district court instructed the parties to move for summary judgment on

claims that involve “legal issues that do not require discovery.” Doc. 340, at 36.

In moving for partial summary judgment, the United States argued that Section 6

of the NVRA preempts H.B. 2492 to the extent that it requires voters using the

Federal Form to provide documentary proof of citizenship to vote in presidential

                                        - 10 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 21 of 74




elections. Doc. 391-1, at 1, 6-7. The State and its Attorney General conceded that

Section 6 preempts that aspect of H.B. 2492. 3-MFV-SER-448. The RNC argued

in favor of its validity, however, because, in its view, Congress lacks power to

regulate presidential elections. 3-MFV-SER-427-432; Doc. 369, at 1-2 (legislative

leaders’ joinder).

      Regarding H.B. 2492’s mail-voting provisions, the United States urged the

district court to defer ruling on whether those provisions are preempted by

Section 6 because its Materiality Provision claim challenging those same

provisions would benefit from discovery. Doc. 391-1, at 15-16. Private plaintiffs

contended, however, that their identical challenge to H.B. 2492’s mail-voting

provisions could be resolved at summary judgment. E.g., Doc. 393, at 5-6. The

RNC argued that Section 6 does not preempt H.B. 2492’s mail-voting provisions

because the NVRA sets only “registration rules” and does not regulate

“mechanisms” for voting. 3-MFV-SER-432-433; Doc. 369, at 1-2. The State

more equivocally argued that the mail-voting provisions are “likely not

preempted.” 3-MFV-SER-449-450.

      The United States also urged the district court to defer resolving its

Materiality Provision claims challenging H.B. 2492’s citizenship-checkbox and

birthplace requirements because discovery would aid the adjudication of those

claims, as well as its Materiality Provision claim concerning the documentary-

                                        - 11 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 22 of 74




proof-of-citizenship requirement. Doc. 391-1, at 16. Private plaintiffs contended

that their identical Materiality Provision claims could be resolved at summary

judgment. E.g., Doc. 399, at 1.

      The State contended that all three aspects of H.B. 2492 challenged under the

Materiality Provision are material to determining voter qualifications. First, the

State argued that the citizenship checkbox and documentary proof of citizenship

are material because they help confirm that applicants are United States citizens.

2-MFV-SER-268-273. According to the State, those aspects of H.B. 2492 are

material even though other parts of the State and Federal Forms establish

applicants’ citizenship because, in the State’s view, the Materiality Provision does

not bar seeking duplicative information pertaining to voter qualifications. 2-MFV-

SER-269-272. Second, the State contended that H.B. 2492’s birthplace

requirement is material to voting qualifications because it helps confirm a voter’s

identity and citizenship. 2-MFV-SER-273-275.

      2. In resolving the parties’ summary-judgment motions, the district court

held that Section 6 of the NVRA preempts both H.B. 2492’s presidential- and

mail-voting provisions. 1-ER-124. The court found that the “plain language of the

NVRA reflects an intent to regulate all elections for ‘[f]ederal office,’ including for

‘President or Vice President.’” 1-ER-125 (quoting 52 U.S.C. 20507(a), 30101(3)).

And, contrary to the RNC’s arguments, the court held that “binding precedent

                                        - 12 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 23 of 74




indicates that Congress has the power to control registration for presidential

elections.” 1-ER-125-127 (citing Buckley v. Valeo, 424 U.S. 1, 13 n.16 (1976) (per

curiam); Burroughs v. United States, 290 U.S. 534, 544 (1934); Voting Rts. Coal.

v. Wilson, 60 F.3d 1411, 1413-1415 (9th Cir. 1995)).

      The district court also held that H.B. 2492’s mail-voting provisions not only

were directly preempted by Section 6 but that they also present an “obstacle to the

accomplishment of Congress’s full objectives under the” NVRA (1-ER-129-130

(quoting Crosby v. National Foreign Trade Council, 530 U.S. 363, 373 (2000))),

which include “enhanc[ing] the participation of eligible citizens as voters in

elections for Federal office” (1-ER-128 (emphasis omitted) (quoting

52 U.S.C. 20501(b)(2))). In addition, the court held that because the NVRA

enumerates specific “circumstances where a State may limit voting by mail,” the

statute implicitly prohibits other limitations on mail voting in federal elections.

1-ER-128 (citing 52 U.S.C. 20505(c)(1) and (2)).

      As to the Materiality Provision claims, the district court granted summary

judgment to plaintiffs on the citizenship-checkbox requirement. 1-ER-142. The

court first determined that “material” in the statute means more than “useful” or of

“minimal relevance”: “Congress intended materiality to require some probability

of actually impacting an election official’s eligibility determination.”

1-ER-140-141. The court also ruled that the materiality of an error or omission

                                         - 13 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 24 of 74




must be determined in light of “the other information available to the State.”

1-ER-142.

      By that standard, the district court held that the citizenship checkbox is

immaterial “when an applicant provides satisfactory evidence of citizenship.”

1-ER-142. Because an Arizonan registering to vote with the State Form must

provide documentary proof of citizenship, “it makes little sense to accept an

incomplete citizenship checkbox on her registration form as ‘true and correct’

when,” in light of the documentary proof, “it is clearly not.” 1-ER-142. Treating

the checkbox as material “would allow Arizona to disregard documentation that,

under Arizona law, constitutes ‘satisfactory evidence of citizenship’ and

disenfranchise eligible voters.” 1-ER-142 (citing Ariz. Rev. Stat. Ann.

§ 16-166(F) (2022)). The court denied summary judgment on the Materiality

Provision claim challenging the birthplace requirement, however, holding that

there was a dispute of material fact about whether that information is material in

determining voter qualifications. 1-ER-144.

      Finally, the district court declined to address the United States’ Materiality

Provision claim challenging the documentary-proof-of-citizenship requirements for

federal-only voters because it had invalidated those same provisions under

Section 6 of the NVRA. 1-ER-138 n.14.




                                        - 14 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 25 of 74




      3. The case proceeded to a ten-day bench trial on the remaining claims.

Among the United States’ claims, only its Materiality Provision challenge to

H.B. 2492’s birthplace requirement remained unresolved. As at summary

judgment, the district court assessed materiality by considering whether the

requirement had “‘some probability of actually impacting an election official’s’

determination of a person’s eligibility to vote.” 1-ER-77 (quoting 1-ER-141).

      The district court found that election officials “do not use birthplace

information to determine an applicant’s eligibility to vote” or “to verify an

applicant’s identity.” 1-ER-26. As to citizenship, the court noted that “[a]n

individual’s place of birth is not dispositive of citizenship status, as individuals

born outside the U.S. may be derived or naturalized citizens.” 1-ER-26. The court

further observed that election officials confirm voters’ identities by cross-

referencing databases that “do not use birthplace as matching criteria.” 1-ER-78.

Although election officials testified concerning some “potential uses of birthplace”

information (1-ER-29; see also 1-ER-27-28), the court found no evidence that

election officials “have ever encountered challenges determining the identity or

eligibility of the one-third of voters for whom Arizona lacks this information.”

1-ER-29.

      Indeed, even if Arizona wished to use birthplace information to identify

applicants, the district court credited the expert testimony of Dr. Eitan Hersh on its

                                         - 15 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 26 of 74




serious shortcomings for that purpose. 1-ER-28-29 & n.22. Dr. Hersh showed that

Arizona’s records concerning voters’ birthplace information contain “several data

issues” and that, even if such data were standardized, it “would still not

meaningfully help to identify voters.” 1-ER-28-29. Accordingly, the court found

that “while [election officials] can sometimes use birthplace in Arizona’s voter

registration process, birthplace is of little utility in nearly all cases.” 1-ER-29.

      The district court thus “conclude[d] that an individual’s birthplace is not

material to determining her eligibility to vote.” 1-ER-77. In addition to birthplace

information’s limited utility as an identifier, the court noted that H.B. 2492 did not

make the birthplace requirement retroactive, so one-third of registration records

would continue to lack it, and H.B. 2492 also did not require election officials “to

verify an individual’s birthplace or reject State Forms with an incorrect

birthplace.” 1-ER-77. “If the substance of the birthplace field does not matter,

then it is hard to understand how one could claim that this requirement has any use

in determining a voter’s qualifications.” 1-ER-77 (alteration and citation omitted).

The court also rejected the use of birthplace for “administrative purposes” as

irrelevant to whether birthplace is “material in determining” voters’ eligibility.

1-ER-78.

      After trial, the district court entered final judgment, permanently enjoining

enforcement of H.B. 2492’s presidential- and mail-voting provisions, as well as its

                                         - 16 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 27 of 74




citizenship-checkbox and birthplace requirements. 1-ER-3-4. The court denied

the intervenors’ motion for a partial stay of its injunction as to H.B. 2492’s

presidential- and mail-voting provisions. Doc. 752, at 11-12. The intervenors filed

a similar stay motion with this Court, which a motions panel likewise denied as to

those claims. See C.A. Dkt. 76, at 3.

                            STANDARD OF REVIEW

      This Court “review[s] a district court’s grant of summary judgment de

novo,” limiting its review “to the record presented to the district court at the time

of summary judgment.” DeFries v. Union Pac. R.R., 104 F.4th 1091, 1105

(9th Cir. 2024).

      After a bench trial, the district court’s findings of fact are reviewed for clear

error, and its legal conclusions are reviewed de novo. Yu v. Idaho State Univ., 15

F.4th 1236, 1241-1242 (9th Cir. 2021); Fed. R. Civ. P. 52(a)(6). For mixed

questions of law and fact, the standard of review varies, because “[m]ixed

questions are not all alike.” U.S. Bank Nat’l Ass’n v. Village at Lakeridge, LLC,

583 U.S. 387, 395-396 (2018) (U.S. Bank). “‘[W]hen applying the law involves

developing auxiliary legal principles of use in other cases,’ appellate courts should

use de novo review, but when questions ‘immerse courts in case-specific factual

issues’ such as weighing evidence and making credibility judgments, appellate

courts should typically review with deference.” McKinney-Drobnis v. Oreshack,


                                         - 17 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 28 of 74




16 F.4th 594, 604 (9th Cir. 2021) (alteration in original) (quoting U.S. Bank,

583 U.S. at 396).

                         SUMMARY OF ARGUMENT

      This Court should affirm the district court’s permanent injunction against

enforcement of H.B. 2492’s presidential- and mail-voting provisions with respect

to the Federal Form and its birthplace and citizenship-checkbox requirements with

respect to the State Form.

      1. Congress has power to regulate presidential elections; therefore,

Section 6 of the NVRA preempts H.B. 2492’s presidential-voting provisions.

Intervenors’ arguments to the contrary are without merit. Supreme Court

precedent dating back more than a century recognizes Congress’s power to

regulate presidential elections. See Burroughs v. United States, 290 U.S. 534, 545

(1934); Ex Parte Yarbrough, 110 U.S. 651, 662 (1884); accord Voting Rts. Coal. v.

Wilson, 60 F.3d 1411, 1414 (9th Cir. 1995). The NVRA also is valid legislation to

enforce the Fourteenth and Fifteenth Amendments’ prohibition against racial

discrimination in voting. Congress had a sound basis for concluding that uniform

procedures would help combat documented racial disparities in voter registration.

      2. H.B. 2492’s mail-voting provisions cannot be reconciled with the

NVRA’s text. Section 6 of the NVRA requires States to “accept and use” the

Federal Form. Arizona v. ITCA, 570 U.S. 1 (2013). Under that mandate, the


                                       - 18 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 29 of 74




Federal Form must “be accepted as sufficient for the requirement it is meant to

satisfy.” Id. at 10. Under H.B. 2492, Arizona would “use” the Federal Form to

determine whether or not to register applicants as eligible to vote in federal

elections by mail. But it would not “accept” the Form as sufficient for that

purpose. Instead, the only way for federal-only voters to cast their ballots by mail

is to provide as part of the registration process information beyond what the

Federal Form requires.

      3. H.B. 2492’s requirements that applicants using the State Form provide

their birthplace and complete a checkbox to confirm their citizenship violate the

Materiality Provision.

      As the district court correctly held, “materiality” requires some probability

that an error or omission would actually affect eligibility determinations. The

birthplace requirement thus violates the Materiality Provision because birthplace is

not itself a qualification; nor is it material in determining qualifications.

Individuals born abroad can be citizens through their parents or through

naturalization. And Arizona still requires those born in the U.S. to provide

documentary proof of citizenship, demonstrating the State itself does not regard

birthplace as material.

      Birthplace likewise is immaterial in determining identity. Arizona has

sophisticated means available to identify applicants, so its election officials rarely

                                         - 19 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 30 of 74




rely on birthplace. Unrebutted expert testimony established that birthplace is a

poor identifier as well. Most Arizonans give the same few answers—Arizona,

Mexico, or the United States—and the State has much better identifiers at its

disposal, including birthdate and personal identification numbers. In defense, the

State and intervenors offer only speculative or anecdotal uses of birthplace to

identify applicants and irrelevant uses of birthplace to identify those already

registered. The Materiality Provision does not bar using voluntarily provided

birthplace information this way. But it does bar denying the right to vote because

an applicant did not provide this immaterial information.

      For similar reasons, H.B. 2492’s citizenship-checkbox requirement violates

the Materiality Provision for voters who provide documentary proof of citizenship.

When applicants prove their citizenship with documents deemed sufficient under

state law, a blank checkbox could not reasonably be interpreted as an attestation

that the person who has just proven citizenship in fact lacks it. Consequently, the

State no longer defends the requirement, while intervenors offer defenses ignoring

that the district court’s ruling is limited to applicants who provide documentary

proof of citizenship.

      Finally, the State’s and intervenors’ efforts to water down the Materiality

Provision’s legal effect lack merit. Their attempts to diminish the meaning of




                                        - 20 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 31 of 74




“materiality,” seek deference to “legislative judgments,” and limit the Provision’s

reach to ad hoc actions by election officials are unfounded and should be rejected.

                                   ARGUMENT

I.    The NVRA preempts H.B. 2492’s requirement that federal-only voters
      provide documentary proof of citizenship to vote in presidential
      elections.

      As the district court correctly held, H.B. 2492’s requirement that federal-

only voters provide documentary proof of citizenship to vote in presidential

elections squarely conflicts with Section 6 of the NVRA. Thus, to prevail in

defending that requirement, intervenors must establish that Congress is uniquely

powerless to regulate presidential elections among all federal elections. Not only

is that view counterintuitive—and not urged by the State—but for well over a

century, the Supreme Court has recognized Congress’s power to regulate

presidential elections. See, e.g., Burroughs v. United States, 290 U.S. 534,

547-548 (1934); Ex Parte Yarbrough, 110 U.S. 651, 662 (1884); see also Oregon

v. Mitchell, 400 U.S. 112, 134 (1970) (opinion of Black, J.) (“Congress

unquestionably has power under the Constitution to regulate federal elections.”);

id. at 124 n.7. This Court has followed suit in affirming the constitutionality of the

very statute at issue here. See Voting Rts. Coal. v. Wilson, 60 F.3d 1411, 1414 (9th

Cir. 1995). Because controlling precedent precludes this Court from embracing

intervenors’ cramped view of Congress’s power, they cannot prevail in defending


                                        - 21 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 32 of 74




H.B. 2492’s presidential-voting provisions. And in addition to this longstanding

precedent, the NVRA is a valid exercise of Congress’s power to enforce the

Fourteenth and Fifteenth Amendments.

      A.     Congress possesses power to regulate presidential elections.

      Congress’s power to regulate presidential elections is beyond serious

dispute. For 140 years, the Supreme Court has recognized that Congress possesses

broad power to regulate presidential elections. In Ex Parte Yarbrough, the Court

held that Congress had power to protect the right to vote in presidential elections

against both state and private interference. 110 U.S. at 662, 666. Both “the

interest of the party concerned” and “the necessity of the government itself,” the

Court said, require “that the votes by which its members of congress and its

president are elected shall be the free votes of the electors, and the officers thus

chosen the free and uncorrupted choice of those who have the right to take part in

that choice.” Id. at 662 (first emphasis added). The Court pointed directly to the

Necessary and Proper Clause, U.S. Const. Art. I, § 8, Cl. 18, to refute the argument

that Congress has “no express power to provide for preventing violence exercised

on the voter as a means of controlling his vote.” Ex Parte Yarbrough, 110 U.S.

at 658.

      Fifty years later, the Supreme Court upheld a federal disclosure law for

presidential campaigns. Burroughs, 290 U.S. at 547-548. Two individuals


                                         - 22 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 33 of 74




challenged their convictions under the law, asserting—as intervenors do here

(Intervenors’ Br. 15)—that Congress has no power to regulate presidential

elections beyond setting the time for selecting presidential electors. Burroughs,

290 U.S. at 544. But the Court held that “[s]o narrow a view of the powers of

Congress . . . is without warrant.” Ibid. Relying on Ex Parte Yarbrough, the Court

determined that Congress possesses power to regulate presidential-campaign

financing for the same reasons “it possesses every other power essential to

preserve the departments and institutions of the general government from

impairment or destruction, whether threatened by force or by corruption.” Id.

at 545, 547. The Court held that “[t]he power of Congress to protect the election

of President and Vice President from corruption being clear, the choice of means to

that end presents a question primarily addressed to the judgment of Congress.” Id.

at 547.

      More recently, while assessing whether certain campaign-finance

regulations violated First Amendment rights, the Court has reaffirmed Congress’s

power to enact such laws for presidential races. See, e.g., McConnell v. FEC, 540

U.S. 93, 187 (2003) (plurality opinion), overruled on other grounds by Citizens

United v. FEC, 558 U.S. 310 (2010); Buckley v. Valeo, 424 U.S. 1, 13 & n.16, 90

(1976) (per curiam) (reaffirming Congress’s “broad . . . power to legislate in

connection with the elections of the President and Vice President”).

                                       - 23 -
                 Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 34 of 74




          Intervenors attempt to distinguish Burroughs by noting that that case

concerned a campaign-finance law, not legislation to safeguard the right to vote in

presidential elections. Intervenors’ Br. 17. But they do not explain how

Congress’s “power . . . to preserve the departments and institutions of the general

government from impairment or destruction,” Burroughs, 290 U.S. at 545, is

simultaneously capacious enough to encompass campaign-finance laws regulating

presidential elections but too narrow to encompass the NVRA, which safeguards

participation in those same elections. The uniform floor that the NVRA sets for

registration procedures is just as much a “means to reform the electoral process” as

is campaign-finance regulation. Buckley, 424 U.S. at 90 (recognizing that

campaign-finance laws are “clearly a choice within” Congress’s power to regulate

presidential elections). If anything, the NVRA’s reforms are more integral to “the

electoral process” than campaign-finance regulation because they address suffrage

itself.

          Despite what Burroughs and its progeny held, intervenors argue that

Congress lacks power to regulate presidential elections because, in their view, the

Electors Clause, U.S. Const. Art. II, § 1, Cl. 2, reserves to States the authority to

select the “manner” of appointing presidential electors. Intervenors’ Br. 15. But

the Supreme Court has made clear that the Electors Clause refers only to the power

to “define the method” of choosing presidential electors. McPherson v. Blacker,

                                          - 24 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 35 of 74




146 U.S. 1, 27 (1892) (emphasis added); accord Trump v. Kemp, 511 F. Supp. 3d

1325, 1337 (N.D. Ga. 2021) (“As used in the Electors Clause, the word ‘manner’

refers to the ‘[f]orm’ or ‘method’ of selection of the Presidential Electors.”

(alteration in original; citation omitted)). States therefore possess authority to

choose among popular election, appointment, or any other method for selecting

presidential electors. But once a State chooses popular elections—as all States

have—those elections are subject to Congress’s recognized regulatory authority.

      That the Elections Clause specifically authorizes Congress to regulate the

“Time, Places, and Manner” of congressional elections, U.S. Const. Art. I, § 4,

Cl. 1, does not imply that Congress lacks power to regulate presidential elections.

The Constitution’s assignment of the task to States of selecting a method of

appointing presidential electors was an “eleventh-hour compromise” that resolved

a conflict among the Constitution’s framers over that issue. Chiafalo v.

Washington, 591 U.S. 578, 581-582 (2020); see also McPherson, 146 U.S. at 28.

But by 1832, “all States but one had introduced popular presidential elections.”

Chiafalo, 591 U.S. at 584. Certain constitutional amendments reflect this

entrenchment of the popular election of the President within our system of

government and give Congress authority to effectuate the provisions through




                                         - 25 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 36 of 74




legislation under the Necessary and Proper Clause.2 Regulation of presidential

elections under the NVRA also is a necessary and proper extension of Congress’s

Elections Clause authority because disparate procedures for elections for different

federal offices would be confusing for voters and difficult to implement. Cf.

United States v. Comstock, 560 U.S. 126, 133-134 (2010).

      This Court—like all of its sibling courts that have considered the issue—has

likewise recognized Congress’s power to regulate presidential elections. Indeed, in

upholding the very law at issue here, this Court held, citing Burroughs, that

Congress’s “broad power . . . over congressional elections” under the Elections

Clause “has been extended to presidential elections.” Wilson, 60 F.3d at 1414. 3

The intervenors dismiss that language as dicta. Intervenors’ Br. 18. But Wilson

addressed a wholesale challenge to the NVRA—including its regulation of both

congressional and presidential elections—as an invalid exercise of congressional



      2
         E.g., U.S. Const. Amend. XXIV, § 1 (prohibiting denial or abridgement of
the right to vote in any “election for President or Vice President” and other federal
offices based on failure to pay a poll tax); id. Amend. XIV, § 2 (setting forth a
process for penalizing States for denial of “the right to vote at any election for the
choice of electors for President and Vice President of the United States” and other
federal offices); see also id. Amend. XII (vesting in Congress important powers
and duties in connection with the election of the President and Vice President).
      3
        Accord Association of Cmty. Orgs. for Reform Now v. Miller, 129 F.3d
833, 836 (6th Cir. 1997); Association of Cmty. Orgs. for Reform Now (ACORN) v.
Edgar, 56 F.3d 791, 793 (7th Cir. 1995); see also Fish v. Kobach, 840 F.3d 710,
719 n.7 (10th Cir. 2016).
                                       - 26 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 37 of 74




power. 60 F.3d at 1412. Wilson’s recognition of Congress’s power to regulate

presidential elections was thus essential to its upholding the statute. That the

Wilson defendants did not invoke the Electors Clause, as intervenors here do, is

therefore of no moment. See Intervenors’ Br. 17-18. Because Wilson held that

Congress possesses broad power to regulate presidential elections on par with its

power to regulate congressional elections, that is the law of this Circuit unless and

until it is overturned en banc or by the Supreme Court. See Bear Valley Mut.

Water Co. v. Jewell, 790 F.3d 977, 994 (9th Cir. 2015). 4

      B.     The NVRA also is a valid exercise of Congress’s power to enforce
             the Fourteenth and Fifteenth Amendments.

      As the United States argued below and in its opposition to the RNC’s stay

motion (Doc. 152, at 9-11; Doc. 391-1, at 11-12; C.A. Dkt. 65, at 13-14), the



      4
         Amicus Republican Party of Arizona fares no better in defending
H.B. 2492’s presidential-voting provisions. It misreads ITCA as holding that the
EAC was required to acquiesce to any request by Arizona to require documentary
proof of citizenship. AZ GOP Amicus Br. 15. Instead, ITCA held that, upon a
State’s request to amend the Federal Form to require additional information, the
Commission must determine, subject to judicial review, whether such information
is necessary to enforce a State’s voter qualifications. 570 U.S. at 19. And that is
precisely what happened when, post-ITCA, the Tenth Circuit agreed with the
Commission that Arizona had failed to carry its burden to establish that
documentary proof of citizenship is necessary to enforce the State’s voting
qualifications, and the Supreme Court denied review. Kobach v. EAC, 772 F.3d
1183, 1196-1197 (10th Cir. 2014), cert. denied, 576 U.S. 1055 (2015). The
process worked exactly as the Supreme Court envisioned in ITCA. There is no
lingering constitutional doubt.

                                        - 27 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 38 of 74




NVRA also is a valid exercise of Congress’s power to enforce the Fourteenth and

Fifteenth Amendments. See U.S. Const. Amend. XIV, § 5; id. Amend. XV, § 2.

Tellingly, intervenors completely ignore this alternative argument.

      In enacting the NVRA, Congress expressly invoked its power under the

Fourteenth Amendment in addition to its power to regulate federal elections.

S. Rep. No. 6, 103d Cong., 1st Sess. 3-4 (1993) (“This Act seeks to remove the

barriers to voter registration and participation under Congress’ power to enforce

the equal protection guarantees of the 14th Amendment to the Constitution.”).

And although Congress did not expressly invoke the Fifteenth Amendment, “[t]he

question of the constitutionality of action taken by Congress does not depend on

recitals of the power which it undertakes to exercise.” Woods v. Cloyd W. Miller

Co., 333 U.S. 138, 144 (1948); see also EEOC v. Wyoming, 460 U.S. 226, 243

n.18 (1983) (stating that “Congress need [not] anywhere recite the words

‘section 5’ or ‘Fourteenth Amendment’ or ‘equal protection’” so long as “some

legislative purpose or factual predicate that supports the exercise of that power”

can be discerned).

      As an initial matter, in seeking a partial stay, intervenors disputed that the

NVRA is legislation to enforce the Fourteenth and Fifteenth Amendments because

the Supreme Court has previously identified the statute as “Elections Clause

legislation.” C.A. Dkt. 71, at 2 (quoting Arizona v. ITCA, 570 U.S. 1, 15 (2013)).

                                        - 28 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 39 of 74




To be sure, the Elections Clause is among the multiple sources of congressional

power underlying the NVRA—specifically its regulation of congressional

elections. But Congress need not pick a lane. Congress frequently invokes more

than one of its powers in enacting legislation. See, e.g., 52 U.S.C. 10502(a)

(invoking numerous sources of congressional power as supporting Section 202 of

the Voting Rights Act of 1965). And by upholding a statute under a particular

“source[] of congressional power,” the Supreme Court does not “imply the absence

of any other.” Griffin v. Breckenridge, 403 U.S. 88, 105-107 (1971).

      Under the Fourteenth and Fifteenth Amendments, Congress may “use any

rational means to effectuate the constitutional prohibition of racial discrimination

in voting.” South Carolina v. Katzenbach, 383 U.S. 301, 324 (1966); see also

Katzenbach v. Morgan, 384 U.S. 641, 651 (1966). Congress’s power to enforce

those amendments’ prohibition against racial discrimination in voting is “no less

broad than its authority under the Necessary and Proper Clause.” City of Rome v.

United States, 446 U.S. 156, 175 (1980) (citing McCulloch v. Maryland, 17 U.S.

(4 Wheat.) 316, 421 (1819)). Thus, Congress may prohibit practices that do not

themselves violate the Fourteenth or Fifteenth Amendments, including “voting




                                        - 29 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 40 of 74




practices that are discriminatory in effect.” Allen v. Milligan, 599 U.S. 1, 41

(2023) (quoting City of Rome, 446 U.S. at 173).5

      Congress enacted the NVRA to combat “discriminatory and unfair

registration laws” that “disproportionately harm voter participation by various

groups, including racial minorities.” 52 U.S.C. 20501(a)(3). As the NVRA’s

legislative history documents, “[r]estrictive registration laws and administrative

procedures were introduced in the United States in the late nineteenth and early

twentieth centuries to keep certain groups of citizens from voting; in the North, the

wave of immigrants pouring into the industrial cities; in the South, blacks and the

rural poor.” H.R. Rep. No. 9, 103d Cong., 1st Sess. 2 (1993). Significant racial

disparities in voter registration persisted into the modern era. The legislative

history cites a 1988 Census Bureau survey of the States for which the agency

maintained separate data by race showing that “in 20 of 28 States . . . , black



      5
         Intervenors argued in seeking a partial stay that the congruence-and-
proportionality test set forth in City of Boerne v. Flores, 521 U.S. 507 (1997), has
replaced the test set forth in Katzenbach. C.A. Dkt. 71, at 2-3. But that test does
not apply to legislation to enforce the Reconstruction Amendments’ prohibition
against racial discrimination in voting. Post-Boerne, the Supreme Court has
continued to evaluate laws that combat voting discrimination under the rationality
standard. See Allen, 599 U.S. at 41 (upholding Section 2 of the Voting Rights Act
of 1965 (VRA), 52 U.S.C. 10301, as “appropriate” legislation based on cases
applying the McCulloch standard (citation omitted)); Shelby Cnty. v. Holder, 570
U.S. 529, 556 (2013) (invalidating the VRA’s coverage formula after finding
Congress’s justification for it “irrational”).

                                        - 30 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 41 of 74




registration trail[ed] white registration by an average of almost 9 percentage

points.” Equal Access to Voting Act of 1989: Hearing on S.675 Before Subcomm.

on the Const. of the S. Comm. on the Judiciary, 101st Cong., 1st Sess. 21 (1989)

(Equal Access Hearing) (statement of Sen. Kennedy). The same survey showed

“even worse disparities between white and Hispanic voter registration rates.” Id.

at 109 (statement of Frank. R. Parker, Director, Voting Rights Project, Lawyers’

Committee for Civil Rights Under Law).

      The statute’s legislative history also identifies several laws, policies, and

practices that contributed to those racial disparities. For example, some States

centralized registration within each county at a single courthouse typically located

outside the minority community that oftentimes had limited business hours. Staff

of Subcomm. on Civ. & Const. Rts. of the H. Comm. on the Judiciary, 98th Cong.,

After the Voting Rights Act: Registration Barriers 2-3 (Comm. Print 1984). As a

method for increasing voter registration, some States allowed local registrars to

deputize local volunteers to assist in voter-registration efforts, but registrars’

discretion over deputization meant that such efforts did not reach all voters equally.

Id. at 3-4. And some States required individuals to register twice before they were

fully qualified to vote, raising barriers to accessing the polls. Equal Access

Hearing 92.




                                         - 31 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 42 of 74




      In light of this evidence, several courts have concluded that Congress had a

sound basis for its view that uniform procedures for registration in federal elections

would prevent racial discrimination in voting. See Condon v. Reno, 913 F. Supp.

946, 967 (D.S.C. 1995); Association of Cmty. Orgs. for Reform Now (ACORN) v.

Edgar, 880 F. Supp. 1215, 1221-1222 (N.D. Ill.), aff’d in relevant part, 56 F.3d

791 (7th Cir. 1995); Association of Cmty. Orgs. for Reform Now v. Miller, 912 F.

Supp. 976, 984 (W.D. Mich. 1995), aff’d, 129 F.3d 833 (6th Cir. 1997).6




      6
         In addition to the Fourteenth Amendment’s prohibition against racial
discrimination in voting, its Privileges or Immunities Clause, U.S. Const.
Amend. XIV, § 1, guarantees the right to vote in presidential elections as a right
and privilege of national citizenship. In re Quarles, 158 U.S. 532, 535 (1895).
Under what is known as the Anderson-Burdick doctrine, the First and Fourteenth
Amendments together also prohibit regulations that unjustifiably restrict the right
to vote. Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 189-191 (2008)
(plurality opinion). The NVRA is a valid exercise of Congress’s power to enforce
these aspects of the Fourteenth Amendment as well. In requiring States to “accept
and use” the Federal Form, 52 U.S.C. 20505(a)(1)—a form which, as discussed
above, allows a person to prove her citizenship by attestation under penalty of
perjury rather than by documentary proof—the NVRA is also a valid exercise of
Congress’s “power to enforce the Fourteenth Amendment’s guarantee that ‘[a]ll
persons born or naturalized in the United States . . . are citizens of the United
States.’” Zivotofsky v. Kerry, 576 U.S. 1, 80-81 (2015) (Scalia, J., dissenting)
(quoting U.S. Const. Amend. XIV, § 1).

                                        - 32 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 43 of 74




II.   Because Arizona uses the Federal Form to determine eligibility to vote
      by mail, it must accept that Form for that purpose.

      The district court correctly held that Section 6 of the NVRA preempts

H.B. 2492’s mail-voting provisions. 1-ER-128-129. The State does not challenge

this ruling on appeal.

      Intervenors quarrel (Intervenors’ Br. 12-13) with the district court’s citation

of 52 U.S.C. 20505(c), which permits States to limit voting by mail for first-time

voters, to support the inference that because the NVRA enumerates specific

“circumstances where a State may limit voting by mail,” the statute implicitly

prohibits other limitations on mail voting. 1-ER-128. Besides that sensible

inference, the NVRA’s plain language also confirms that the court’s conclusion

was correct and its injunction barring enforcement of Arizona’s mail-voting

provisions appropriate. See DeFries v. Union Pac. R.R., 104 F.4th 1091, 1109 (9th

Cir. 2024) (“We can affirm on any ground supported by the record.”).

      Section 6 requires States to “accept and use” the Federal Form. 52 U.S.C.

20505(a)(1). In Arizona v. ITCA, 570 U.S. 1 (2013), the Supreme Court held that

this mandate requires more of States than merely to “receive the [Federal] form

willingly and use it somehow in its voter registration process.” Id. at 9-10.

Instead, Section 6 requires that the Federal Form “be accepted as sufficient for the

requirement it is meant to satisfy.” Id. at 10.



                                         - 33 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 44 of 74




      Under H.B. 2492, Arizona election officials would “use” the Federal Form

to determine whether individuals are eligible to vote by mail in federal elections

but then “accept” it for that purpose only if voters provide information as part of

the registration process—documentary proof of citizenship—beyond what that

Form requires. In this way, H.B. 2492’s mail-voting provisions impermissibly

create a two-tiered registration system: Individuals who provide documentary

proof of citizenship are registered as eligible to vote by mail; those who do not are

not eligible to vote by mail. That Congress did not mandate that the Federal Form

determine eligibility to vote by mail is therefore beside the point. Intervenors’

Br. 12. Under H.B. 2492, Arizona would use it for that purpose. Arizona must

therefore accept the Federal Form “as sufficient for” that purpose. ITCA, 570 U.S.

at 10. By demanding that federal-only voters provide documentary proof of

citizenship as part of the registration process to be eligible to vote by mail,

H.B. 2492 makes an end-run around Section 6 of the NVRA.

      Intervenors’ contrary conception of the NVRA proves too much. If, as they

argue (Intervenors’ Br. 12), the NVRA regulates “registration” in total isolation

from the rest of the voting process, then States could “accept” the Federal Form

solely to place individuals’ names on the voting rolls but then preclude those who

do not provide documentary proof of citizenship from actually casting ballots in

federal elections. But ITCA rejected such a self-defeating interpretation of

                                         - 34 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 45 of 74




Section 6. See 570 U.S. at 13 (refusing to adopt Arizona’s interpretation of

Section 6 under which the provision would “cease[] to perform any meaningful

function”).

       Accordingly, the district court correctly held that H.B. 2492’s mail-voting

provisions are preempted by Section 6 of the NVRA.7

III.   The State Form’s birthplace and citizenship-checkbox requirements
       violate the Materiality Provision.

       The district court correctly held that H.B. 2492’s requirements that

applicants using the State Form provide their birthplace and check a box to confirm

their citizenship violate the Materiality Provision. 1-ER-76-78, 142-144. Omitted

birthplaces and blank citizenship checkboxes are immaterial in determining

whether applicants are eligible to vote in Arizona. Birthplace is not itself a

qualification to vote, and the evidence at trial established it is not useful, much less

material, in determining an applicant’s identity or citizenship either. A blank

citizenship checkbox is likewise immaterial when applicants have provided the

very documents deemed sufficient under state law to prove their citizenship.



       7
          If this Court holds that either H.B. 2492’s presidential- or mail-voting
provisions are not preempted by Section 6 of the NVRA, then it should remand for
the district court to consider in the first instance the United States’ claim that
requiring federal-only voters to provide documentary proof of citizenship to vote in
presidential elections or by mail violates the Materiality Provision. See 3-MFV-
SER-575-576; 1-ER-138 n.14 (declining to resolve that claim at summary
judgment).
                                           - 35 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 46 of 74




      The district court reached these conclusions after wide-ranging litigation

over H.B. 2492 and H.B. 2243 that “immersed” the court “in case-specific factual

issues” regarding election administration in Arizona. See McKinney-Drobnis v.

Oreshack, 16 F.4th 594, 604 (9th Cir. 2021) (quoting U.S. Bank Nat’l Ass’n v.

Village at Lakeridge, LLC, 583 U.S. 387, 396 (2018)). Accordingly, this Court

should “review with deference,” ibid., and affirm.

      A.     Arizona’s birthplace requirement violates the Materiality
             Provision.

      1. The district court correctly held that Arizona violates the Materiality

Provision by denying the right to vote to applicants who do not indicate their

birthplace on the State Form. 1-ER-77; Ariz. Rev. Stat. Ann. §§ 16-121.01(A)

(2023), 16-152(A)(7) (2022). After trial, it found that “defendants adduced no

evidence that county recorders”—the Arizona officials chiefly responsible for

voter registration—“have ever encountered challenges determining the identity or

eligibility” of voters who do not provide their birthplace. 1-ER-29. Because the

birthplace requirement is not “material in determining” eligibility to vote,

enforcing the requirement is little more than “a means of inducing voter-generated

errors that [can] be used to justify rejecting applicants.” Florida State Conf. of

NAACP v. Browning, 522 F.3d 1153, 1173 (11th Cir. 2008).

      As the district court recognized, “material” means more than “useful” or of

“minimal relevance.” 1-ER-140-141. Instead, materiality is understood across a
                                        - 36 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 47 of 74




range of contexts “to require some probability of actually impacting” the decision

in question—here, “an election official’s eligibility determination.” 1-ER-141.8

For instance, under the summary-judgment standard, materiality means that “[o]nly

disputes over facts that might affect the outcome of the suit” will preclude

summary judgment. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)

(emphasis added). In the securities context, an omitted fact is material “if there is a

substantial likelihood that a reasonable shareholder would consider it important in

deciding how to vote.” TSC Indus. v. Northway, Inc., 426 U.S. 438, 449 (1976).

In the Brady context, withheld evidence is material “when there is a reasonable

probability that, had the evidence been disclosed, the result of the proceeding

would have been different.” Cone v. Bell, 556 U.S. 449, 469-470 (2009).

      Birthplace information is immaterial because it is not reasonably likely to

affect the determination that an applicant is qualified to vote. Under Arizona law,

neither birth in the State nor in the United States is a qualification. Voter

qualifications are limited to age, U.S. citizenship, residence, the ability to write



      8
         The Fifth Circuit, consulting dictionary definitions, arrived at the
comparable understanding that information is “material” when it is important and
likely to affect the decision in question. See Vote.Org v. Callanen, 89 F.4th 459,
478 (5th Cir. 2023) (favoring the definitions “Of such a nature that knowledge of
the item would affect a person’s decision-making” and “Of serious or substantial
import; significant, important, of consequence”); see also Material, Black’s Law
Dictionary (4th rev. ed., 1968) (“Important; more or less necessary; having
influence or effect.”).
                                         - 37 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 48 of 74




one’s name or mark, an absence of felony convictions (or, if convicted, restoration

of civil rights), and no adjudicated incapacity. Ariz. Const. Art. VII, § 2; Ariz.

Rev. Stat. Ann. § 16-101(A) (2023).

      Of those qualifications, just citizenship is at issue here. Birthplace offers no

more than a possible sign that an applicant is—or is not—a citizen. 1-ER-26.

Individuals born abroad can be citizens through their parents or through

naturalization. 1-ER-26; 8 U.S.C. 1401 (conferring citizenship on persons born

abroad to citizen parents). Approximately 436,000 naturalized citizens reside in

Arizona. 1-ER-8. If election officials relied on birthplace to determine their

citizenship, it would yield mistake after mistake.

      Moreover, “materiality” typically is assessed in light of “the ‘total mix’ of

information made available” to the relevant decisionmaker. TSC Indus., 426 U.S.

at 449; Cone, 556 U.S. at 470-475 (comparing materiality of withheld evidence to

evidence presented at trial). Thus, the district court rightly recognized that the

materiality of an error or omission is “determined by the . . . information available

to the State.” 1-ER-142. The court reviewed the numerous direct means Arizona

already employs to determine an applicant’s citizenship. Applicants using the

State Form to register are required to provide documentary proof of citizenship.

Ariz. Rev. Stat. Ann. § 16-121.01(C) (2023). The statewide Arizona Voter

Registration Database (AVID), used by every Arizona county, connects to the

                                        - 38 -
               Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 49 of 74




State’s motor-vehicle division (MVD) database to check for proof of citizenship.

1-ER-16, 21. The MVD database tracks individuals’ “authorized presence status”

in the U.S. 1-ER-16. The State also can search U.S. Customs and Immigration

Services’ SAVE database to verify the citizenship of those born abroad.

1-ER-17-18 & n.15. With these direct means to determine citizenship available, it

would be all the more unreasonable to determine an applicant’s citizenship instead

based on their birthplace.

       Accordingly, the district court found that Arizona’s county recorders do not

use birthplace to determine that an applicant is qualified to vote. 1-ER-26; 4-

MFV-SER-598-600, 754-755; 5-MFV-SER-905, 916, 927-928, 938-939, 959-960,

977-978; 6-MFV-SER-1053. The Secretary of State admitted that an applicant’s

“failure to provide their place of birth . . . is not material to their eligibility to

vote.” 3-MFV-SER-528 (Answer to U.S. Complaint). And its State Elections

Director, Mary Colleen Connor, testified that birthplace is not used to determine

citizenship. 1-ER-14, 26; 4-MFV-SER-622-623.

       2. As the district court also found, birthplace is not material in determining

an applicant’s identity either. As with citizenship, the State has sophisticated

means to identify applicants that do not depend on the applicant’s birthplace. As

noted, every county uses AVID, and for each new application, AVID compares the

applicant’s information to existing registrations to flag duplicates. 1-ER-21.

                                           - 39 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 50 of 74




AVID also compares the applicant’s information to the MVD database, which is

connected to the Social Security Administration. 1-ER-19-21. None of this

identity matching depends on the applicant’s birthplace. 1-ER-26-27, 78.

Unsurprisingly then, no county recorders indicated that they actually use birthplace

to identify applicants for voter registration. 4-MFV-SER-600-601, 610-611; 5-

MFV-SER-905, 916, 927-928, 938-939, 959-960, 977-978; 6-MFV-SER-

1070-1072.

      The way the State has implemented the birthplace requirement demonstrates

its poor utility as an identifier and thus its immateriality in determining

qualifications. Because providing birthplace was voluntary for so many years, the

district court found that “approximately one-third of existing voter registrations”

lack a birthplace. 1-ER-28-29, 78. Yet the State did not make the birthplace

requirement retroactive, so birthplace information will continue to be missing for

that multitude of voters. 1-ER-77. As the court held, the fact “[t]hat Arizona has

determined these voters are qualified to vote notwithstanding the lack of any

meaningful birthplace information strongly indicates birthplace is immaterial.”

1-ER-77.

      The State Form also has never provided clear instruction to applicants to

ensure that they enter their birthplaces in a standard way. 4-MFV-SER-598.

Consequently, as the district court found, the birthplace information the State

                                         - 40 -
               Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 51 of 74




collects is riddled with improper answers (such as an applicant’s city of birth,

rather than state or country), as well as inconsistent abbreviations, typos, countries

that no longer exist, and other ambiguities. 1-ER-28-29; 4-MFV-SER-652-653,

656-658. Despite these deficiencies, the State offered no plans to improve the

quality of the birthplace information it collects. 1-ER-29. That further evinces

birthplace’s immateriality.

       Even if the State seriously attempted to use birthplace information to

identify applicants and distinguish them from already-registered voters, unrebutted

expert testimony established to the district court’s satisfaction that the birthplace

requirement would have “little utility in nearly all cases.” 1-ER-29. The court

accorded “significant weight” to the opinions of Dr. Eitan Hersh, a Tufts

University political science professor specializing in election administration.

1-ER-28 & n.22. Dr. Hersh detailed significant shortcomings in birthplace

information as a means of identification, both because of Arizona’s poor data

collection and because of birthplace’s inherent inferiority to other, better

identifiers.

       Dr. Hersh testified that Arizona has approximately 4.7 million active and

inactive registered voters. Birthplace is a weak differentiator among this group,

and not only because one-third never indicated a birthplace. 1-ER-28. Of the two-

thirds that did, many gave the same answers: Arizona, unsurprisingly, or else

                                         - 41 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 52 of 74




Mexico or the United States. 1-ER-28; 4-ER-771-772. Mandating that applicants

give their birthplace would not change that reality.

      By contrast, Dr. Hersh testified that name and birthdate uniquely identify

more than 99.9% of voters—that is, all 4.7 million except 2734. 1-ER-29;

4-MFV-SER-663-664. To identify the remainder, personal identification numbers

are far superior to birthplace. The State has an Arizona identification number, such

as a driver’s license number, or the last four digits of a Social Security number, for

99.6% of voters, in contrast to the one-third of voters for whom it lacks birthplace.

1-ER-29; 4-MFV-SER-664. Using these numbers along with name and birthdate

uniquely identifies all but 720 registered voters, more than 99.98% of the total.

4-MFV-SER-664-667.

      Even to distinguish among this infinitesimal remainder, birthplace is of little

use. Dr. Hersh testified that nearly all—660 of the 720—show either the same

birthplace (e.g., Arizona) or different but compatible entries (e.g., Arizona in one

record, United States in the other). 4-MFV-SER-667-668. Birthplace would at

best provide some indication that these reflect duplicative records. But an election

official looking at two records with matching names, birthdates, and identification

numbers already would conclude they are duplicates without using birthplace

information. Ultimately, birthplace information might help distinguish possibly

duplicative records in vanishingly few instances. 1-ER-29. And in light of its

                                        - 42 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 53 of 74




inconsistent, incomplete collection, and the fact many Arizona applicants were

born in the same places, the district court did not clearly err in finding that

birthplace is likely to prove unreliable and unhelpful even then. 1-ER-29.

      B.     Appellants’ defenses of the birthplace requirement lack merit.

      The State and intervenors show no clear error in the district court’s findings

of fact or error in its holding that the birthplace requirement violates the

Materiality Provision. Their defenses of the requirement demonstrate that no

problem existed in Arizona election administration that the requirement’s adoption

in H.B. 2492 would solve. Their defenses likewise lack foundation in Arizona

election officials’ actual practices, instead relying on hypothetical or anecdotal

uses of birthplace information that were already possible before the State passed a

law requiring birthplace information in 2022.

             1.     Appellants misinterpret the term “material.”

      The State and intervenors begin by urging alternatives to the district court’s

well-founded understanding that materiality requires some probability of actually

impacting an election official’s eligibility determination. State Br. 42-43;

Intervenors’ Br. 21-22. The State takes “material” to mean simply “significant”

but not “essential,” paraphrasing Vote.Org v. Callanen, 89 F.4th 459, 478

(5th Cir. 2023), but it does not specify what “significant” means. State Br. 42-43.

The State uses “significant” throughout its brief, in contrast to “essential,” to mean


                                         - 43 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 54 of 74




little more than that birthplace may possibly be useful or loosely relevant in

various registration-related processes. See State Br. 56, 61, 65-66. As the district

court correctly held, the statute’s use of “material” entails significance specifically

in terms of the “probability of actually impacting an official’s eligibility

determination.” 1-ER-77, 141 (emphasis added); see pp. 36-37, supra. The State

must show significance in that respect, not merely that election officials might find

it useful in ways a step removed from determining eligibility.

      Intervenors argue that “material” means “a low threshold for relevance”

(Intervenors’ Br. 21-22), but they misread precedent. In Browning, the Eleventh

Circuit did not rule that the statute’s use of “material” denotes “minimal

relevance.” Contra Intervenors’ Br. 21-22 (quoting Browning, 522 F.3d at 1174).

That was dicta, discussing various formulations of materiality in other contexts.

Browning, 522 F.3d at 1173-1174. This Court need not decide whether that

discussion was correct. Because Browning held that federal law made the

information at issue “automatically material,” it did not actually decide which

formulation of materiality to adopt. Id. at 1174. Intervenors likewise misread

(Br. 22) the emphasis that Pennsylvania State Conference of NAACP Branches v.

Secretary Commonwealth of Pennsylvania, 97 F.4th 120 (3d Cir. 2024), placed on

the statute’s phrase “in determining whether such individual was qualified.” Id. at

131 (quoting 52 U.S.C. 10101(a)(2)(B)). The Third Circuit emphasized that phrase

                                         - 44 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 55 of 74




to decide a question not posed here: whether mail-ballot envelopes, which are

used only after a voter’s qualifications have been determined, are papers subject to

the Materiality Provision. Id. at 131-132. Like the Eleventh Circuit, it did not hold

that “materiality” means minimal relevance.

             2.     The State’s “legislative judgment” does not warrant
                    additional deference.

      Next, the State asks for deference to its legislative judgments, which it says

the district court failed to afford. State Br. 43, 56. The Materiality Provision’s text

already defers to States by looking to the voter qualifications they set “under State

law.” 52 U.S.C. 10101(a)(2)(B). The statute generally lets States decide how to

determine that a voter meets their qualifications; to add a requirement to a voting-

related paper, it must merely be material in determining qualifications. The statute

otherwise does not make detailed provision for voter-registration processes as, for

instance, the NVRA does. The Materiality Provision’s function is to ensure

voting-related papers are not laden with requirements immaterial to determining

voters’ qualifications. Schwier v. Cox, 340 F.3d 1284, 1294 (11th Cir. 2003). In

this one respect, it “expressly limits” States’ discretion to craft voting rules.

Vote.Org, 89 F.4th at 492 (Higginson, J., dissenting). To defer to the State on the

meaning of materiality, as the State asks, is to negate the specific effect this

otherwise-deferential statute has.



                                         - 45 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 56 of 74




      The State does not demonstrate that it deserves deference to the legislative

judgment at issue here anyway. The State scarcely explains its decision to

mandate birthplace in voter-registration applications after so many decades of

making it optional. State Br. 4-5. It identifies no recurring problem in election

administration that requiring birthplace information would solve. The State’s only

evidence on the “legislative judgment” to which it requests deference is the

testimony of a lone witness from an advocacy organization, with no role in election

administration, speculating about the possible “useful[ness]” of birthplace

information in certain database searches. State Br. 11 (quoting 6-ER-1465);

see pp. 55-56, infra.

      The State suggests its long history of asking about birthplace makes

birthplace information “significant.” State Br. 56. This history shows the

opposite: H.B. 2492’s birthplace requirement is a solution in search of a problem.

The State administered elections for decades without any apparent difficulty while

treating birthplace as optional information, even with a third of registered voters

opting not to provide it. See p. 40, supra. That history counsels against deference

to the State’s largely unexplained legislative judgment to change course in 2022.

             3.     The birthplace requirement is not material in determining
                    identity.

      The State concedes that “birth place information often does not distinguish

voters” because “self-reported birth places [are] often either Arizona or Mexico.”
                                        - 46 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 57 of 74




State Br. 22. The State also does not appear to contest the district court’s finding

that election officials have no trouble determining the qualifications of applicants

who do not provide their birthplaces. State Br. 36; 1-ER-29. Nor does it call into

serious question Dr. Hersh’s unrebutted criticisms of birthplace’s utility as an

identifier. State Br. 20-21. The State also acknowledges that its proposed uses of

birthplace for identification are largely speculative or anecdotal because “county

recorders have not regularly relied on it during registration” (State Br. 32),

contradicting intervenors’ claim that “birthplace is used . . . to corroborate a

registrant’s identity” (Intervenors’ Br. 24 (emphasis added)). Against these

concessions, the State’s and intervenors’ speculative points do not establish the

materiality of the birthplace requirement.

      a. The State defends the birthplace requirement with reference to various

anecdotal or hypothetical scenarios in which election officials are trying to confirm

the identity of an applicant, such as a “soft match” or an applicant whose name

varies between their birth certificate and their application. State Br. 19, 22-23,

52-54; Intervenors’ Br. 24-25 (similar). But birthplace need not be mandatory on

the State Form for the State to use it in these ways. The State largely draws these

possible uses of birthplace information from the 2019 edition of Arizona’s Election

Procedures Manual (2019 EPM). State Br. 16-17 & n.8; see id. at 19 (citing

4-ER-899, from 2019 EPM), 23-25 (citing 2019 EPM). But in 2019, birthplace

                                         - 47 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 58 of 74




was optional on the State Form. Thus, these uses of birthplace information were

already possible before the State required the denial of registration applications

that omit it. And the EPM did not state that birthplace in particular could be used

this way to confirm identity; it said “any information in the voter’s record” would

do. 4-ER-899.

      The Materiality Provision does not bar these ancillary uses of birthplace

information for identification, as long as omitting the birthplace from an

application does not trigger its denial. See Diaz v. Cobb, 435 F. Supp. 2d 1206,

1211 n.3 (S.D. Fla. 2006) (“[T]he Materiality Provision prohibits denying the right

to vote on the basis of an immaterial error or omission, but does not prohibit a state

from requesting immaterial information.” (emphasis added)). It would allow a

county recorder to send a follow-up if it genuinely cannot identify an applicant

who omitted their birthplace. See State Br. 23. The Materiality Provision also

would not stop the State from improving the quality of voluntary birthplace

information by developing “standard instructions” for applicants, which it has not

done. State Br. 31, 36.

      The State concedes birthplace’s limited utility as an identifier anyway,

acknowledging Dr. Hersh’s analysis that birthplace distinguished only “a tiny

percentage of overall records” compared to name, birthdate, and personal




                                        - 48 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 59 of 74




identification numbers. State Br. 53. A datum that helps with as few as “eight

pairs” (State Br. 53) out of 4.7 million epitomizes immateriality.

      Reliance on ancillary uses of birthplace information as an identifier has

another problem: numerous examples the State and intervenors offer come after

the eligibility determination. State Br. 54, 60; Intervenors’ Br. 24-25. To repeat,

for errors or omissions to warrant denial of a registration application, they must be

“material in determining” an applicant’s qualifications to vote. 52 U.S.C.

10101(a)(2)(B). The birthplace requirement rises or falls by that standard. Uses of

birthplace after that determination are not sufficient on their own to satisfy the

Materiality Provision. For instance, the State suggests birthplace is “useful after

registration . . . as a security question to be asked over the phone.” State Br. 60.

The district court correctly rejected these “administrative” uses of birthplace

information because such voters have “already been identified and found eligible

to vote.” 1-ER-78; cf. Martin v. Crittenden, 347 F. Supp. 3d 1302, 1308-1309

(N.D. Ga. 2018) (holding post-application uses of “year of birth” immaterial

because “election[] officials have already confirmed such voters’ eligibility”).

Potential post-registration administrative utility does not justify denying

applications in the first instance.

      The rulings in Indiana Democratic Party v. Rokita, 458 F. Supp. 2d 775

(S.D. Ind. 2006), and League of Women Voters of Arkansas v. Thurston,

                                        - 49 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 60 of 74




No. 5:20-cv-5174, 2023 WL 6446015 (W.D. Ark. Sept. 29, 2023), do not indicate

otherwise. Contra State Br. 60-61; Intervenors’ Br. 25. Those cases involved

materiality challenges to State requests for information at later stages, not during

the registration process itself, as here. They held only that States may require

voters to show identification at the polling place (Rokita) or provide basic

identifying information when submitting an absentee ballot (Thurston), not that

States may encumber registration forms with inconsequential information requests

and deny registration to those who provide the information improperly.

      b. The State’s references to the practices of the U.S. Department of State

and other States likewise fail. The district court appropriately regarded the State

Department’s use of birthplace in passport applications as “irrelevant.”

1-ER-27 n.20. Neither the Materiality Provision nor any equivalent law applies to

the passport-application process. Because applicants for U.S. passports are not

concentrated in a single State, birthplace information from that universe of people

is more likely to be a useful identifier than the birthplace information that Arizona

collects. See 8 Foreign Affs. Manual 403.4-7(A)-(C) (Doc. 365-1, at 112-126)

(listing as places of birth U.S. States, possessions, and hundreds of foreign

countries and territories). This contrasts with the fact, noted above, that most

Arizona applicants for voter registration write the same few answers: Arizona,

Mexico, or the United States.

                                        - 50 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 61 of 74




      If any federal agency’s decisions are pertinent, it is the Federal Election

Commission’s decision in 1994, implementing the NVRA, to not include

birthplace on the Federal Form. See 59 Fed. Reg. 32,311, 32,316 (June 23, 1994).

It found that “duplicate registrations can effectively be distinguished” with other

“required information,” including “date of birth” and “numerical identifier[s].”

59 Fed. Reg. at 32,316. It also sought to avoid “inviting unequal scrutiny of

applications from citizens born outside the United States, such as those born of

parents serving overseas in the Armed Forces.” Ibid.

      The State’s reference to the election practices of other States is no stronger.

It claims “at least nine other states” ask applicants for birthplace. State Br. 50. But

the question is whether any States require it. The State earlier asserted that only

four States “appear to require” birthplace information, and even this is doubtful.

Doc. 365, at 3 (claiming Alabama, Nevada, Tennessee, and Vermont require

birthplace); see Doc. 392, at 2-3 (U.S. Rule 56.1 Statement) (disputing State’s

assertion given lack of evidence). These facts, undeveloped by the State at trial,

undercut the State’s materiality argument. They show that all, or nearly all, other

States administer elections without requiring birthplace information, evidently

encountering no problems that the State has adduced. To use the State’s own logic

in reverse: “[T]he fact that other decision makers have [not] sought the same kind




                                        - 51 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 62 of 74




of information for similar decisions, either contemporaneously or historically, is

evidence that the information is [not] significant.” State Br. 44.

      c. Finally, the State proposes a specious presumption that applicants who

omit their birthplace information are intentionally deceiving election officials,

“rais[ing] doubts about [their] identity.” State Br. 46, 51, 57-58. This presumption

would render the Materiality Provision a dead letter. If States could treat any

omission in a voting-related paper as intentional, and thus a sign of fraud or deceit,

all omissions would thereby become material in determining the identity of

prospective voters. It is doubtful that Congress “could have intended to create

such a large and obvious loophole in one of the key regulatory innovations” of the

Civil Rights Act. See County of Maui v. Hawaii Wildlife Fund, 590 U.S. 165,

178-179 (2020).

      Furthermore, the State’s proposed presumption is unfounded. It rests (State

Br. 46, 51) on misreading the Eleventh Circuit’s Browning decision. Browning

said only that errors should be accepted “as true and correct” when deciding

which information is material in determining voter qualifications. 522 F.3d

at 1175. That is, if the erroneous information would make a difference to the

eligibility determination, then it is material. Ibid. Browning did not say that an

applicant’s errors should be viewed as intentional.




                                        - 52 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 63 of 74




      The State’s presumption that omissions are intentional would call into

question the third of Arizona registered voters who omitted their birthplace. This

is at odds with the State’s own “legislative judgment” (State Br. 56) in H.B. 2492

that the birthplace requirement did not need to be retroactively applied to all those

people. 1-ER-77. The State’s presumption also is at odds with the trial record.

None of its cited testimony (State Br. 52) indicates that county recorders view

omissions of information as intentional efforts at deceit. The cited testimony

spoke, at most, of registration applications completed haphazardly by third-party

groups. The State offers only hypothetical examples (State Br. 45-46), not any

evidence of the intentional deceit it presumes is lurking behind every omitted

birthplace.

      Having a notice-and-cure process (State Br. 46-48, 51) does not bolster the

State’s presumption that omissions are intentional. When an omission goes

uncured, it may signify only that prospective voters are busy people, juggling

obligations from work, family, and much else. The idea that an uncured omission

most likely indicates a foiled fraud scheme reflects rank speculation, not evidence.

      Nor does a cure process insulate the birthplace requirement writ large from

the Materiality Provision. The statute “does not say that state actors may initially

deny the right to vote based on errors or omissions that are not material as long as

they institute cure processes.” La Unión del Pueblo Entero v. Abbott, 604 F. Supp.

                                        - 53 -
               Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 64 of 74




3d 512, 541 (W.D. Tex. 2022). Notwithstanding a cure process, the requirement

“creates a hurdle” for applicants and prevents them from voting until they clear it.

Vote.Org, 89 F.4th at 487. If the option to cure an omission with a corrected form

could negate the Materiality Provision, no barrier would ever violate the Provision.

Voters could always be made to provide immaterial information on a corrected

form later.

              4.    The birthplace requirement is not material in determining
                    citizenship.

      The State and intervenors’ adherence to the rationale that birthplace is

material in determining citizenship has waxed and waned throughout this litigation.

The State’s motion to dismiss urged the birthplace requirement’s utility in

determining citizenship. Doc. 127, at 26-29. But, as the State acknowledges, its

summary-judgment motion mainly argued for the requirement’s utility in

identifying applicants, alluding to citizenship only in passing on reply. State

Br. 14; 2-MFV-SER-275; 3-MFV-SER-460. The citizenship rationale got scant

attention in intervenors’ trial brief, which focused instead on identification. Doc.

586, at 9. But intervenors then suggested in closing arguments that “the real

purpose” of the birthplace requirement was “to prove citizenship,” not to use

birthplace as “a unique identifier.” 3-ER-598.

      The citizenship rationale is inadequate in any case. The State

acknowledges—as it must—that birth abroad does not mean a person is a non-
                                        - 54 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 65 of 74




citizen. State Br. 62. As the district court found, birthplace thus does not

determine a person’s citizenship. 1-ER-26. The State offers that birthplace can

indicate “the potential basis for a person’s citizenship.” State Br. 62. But that is

not a voter qualification either. Citizenship is the qualification, regardless of

the basis.

      The most the State can say is that birthplace might indicate the “types of

proof” of citizenship an applicant might submit. State Br. 62. But requiring

birthplace on the registration form is not necessary for that. If one applicant

supplies a U.S. birth certificate, while another supplies a certificate of

naturalization, they have conveyed the same information directly. The difference

between the document types is insignificant anyway, because both applicants are

eligible. The State’s suggestion (State Br. 66) that birth in the U.S. is “generally

dispositive” of citizenship is a red herring. The State does not accept an attestation

of U.S. birthplace as sufficient to determine a voter is a citizen. The State still

requires documentary proof of citizenship no matter what birthplace an applicant

enters, demonstrating that the birthplace entry is fundamentally immaterial.

      This leaves the State’s misplaced justification that knowing an applicant’s

birthplace would help election officials use two databases, NAPHSIS and SAVE,

to verify their citizenship. State Br. 27-30, 63, 66-67. Under H.B. 2492, such

verification procedures are used for applicants who submit the Federal Form and

                                         - 55 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 66 of 74




do not provide documentary proof of citizenship. State Br. 9-10; Ariz. Rev. Stat.

Ann. § 16-121.01(D) (2023). The birthplace requirement is on the State Form,

whose users must provide documentary proof. Election officials can consult such

applicants’ citizenship documents directly. Adding the birthplace requirement to

the State Form thus has no bearing whatsoever on the State’s procedures for

verifying the citizenship of Federal Form applicants. Similarly, the possible utility

of birthplace to “the back-end process” of verifying the citizenship of “voters who

previously registered without proof of citizenship” (State Br. 64) is irrelevant.

That has nothing to do with requiring new applicants to provide their birthplaces.

      C.     The citizenship-checkbox requirement is not material in
             determining the qualifications of Arizona voters.

      1. Despite requiring documentary proof of citizenship for applicants using

the State Form, Arizona also requires such applicants to affirm the same by

checking a box on that form. Ariz. Rev. Stat. Ann. § 16-152(A)(14) (2022).

Election officials must reject applications in which the box is not checked, even

when applicants have provided sufficient documentation to prove they are citizens.

Id. § 16-121.01(A). An unchecked box is an error or omission under the

Materiality Provision. 1-ER-142. The district court correctly held that it violates

the Materiality Provision to deny the registration of an applicant who has supplied

documentary proof of citizenship but does not also check the citizenship box.

1-ER-139-142.
                                        - 56 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 67 of 74




      As noted, the district court properly understood “materiality” “to require

some probability of actually impacting” the decision at issue—here, determining

an applicant’s eligibility to vote. 1-ER-141; see, pp. 36-37, supra. No reasonable

election official, determining whether an applicant is a citizen, would treat a blank

checkbox as overriding documentary proof of citizenship. When applicants prove

their citizenship with the documents deemed sufficient under state law, a blank

checkbox cannot reasonably be interpreted as an attestation that the person who

has just proven citizenship in fact lacks it. The overwhelmingly likely explanation

for the blank checkbox is simple mistake. It would be counterintuitive and

unreasonable to determine the applicant’s citizenship by favoring either a marked

or blank checkbox over the documentary proof the applicant supplied.

      Indeed, the State provided no evidence at summary judgment that, if Arizona

law left election officials free to consider the significance of a blank citizenship

checkbox, they actually would view it as superseding the documents held sufficient

under state law to prove citizenship. Quite the opposite. The Secretary of State

admitted that the citizenship checkbox is immaterial when voters provide

documentary proof of citizenship. 3-MFV-SER-525 (admitting in Answer that

rejecting applicant who “does not check the citizenship box on the registration

form where election officials already have adequate evidence of the applicant’s

citizenship” violates the Materiality Provision).

                                         - 57 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 68 of 74




      The fate of applicants who check the citizenship checkbox but fail to provide

documentary proof of citizenship confirms the checkbox’s immateriality: election

officials “shall reject” their applications. See Ariz. Rev. Stat. Ann. § 16-121.01(C)

(2023). When an element of an application makes no difference to the outcome

one way or the other, it is immaterial.

      2. The State no longer defends the materiality of the citizenship-checkbox

requirement. Intervenors, for their part, maintain that a blank checkbox would be

“of consequence, if not potentially dispositive,” in determining an applicant’s

citizenship. Intervenors’ Br. 22 (citation and internal quotation marks omitted).

Intervenors’ argument overlooks that the district court found the citizenship

checkbox immaterial as to applicants who have provided documentary proof of

citizenship. Intervenors offer no reason why a blank checkbox would countermand

an applicant’s proof of citizenship. Documentary proof is far more compelling

evidence of citizenship than a blank checkbox is of non-citizenship.

      The strength of documentary proof compared to the checkbox defeats

intervenors’ analogies to dissimilar cases. Intervenors’ Br. 23. No such disparity

in informational value was present in Diaz, which concerned alleged duplication

between checkboxes for specific qualifications—citizenship, felony status, and

incapacitation—and a general signature affirming an applicant meets the

qualifications to vote. 435 F. Supp. 2d at 1211-1212. The court upheld the

                                          - 58 -
               Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 69 of 74




checkboxes against a materiality challenge as “specific affirmations of specific

qualifications” that were only generally encompassed by the signature and thus not

truly duplicated by it. Id. at 1212-1213. Diaz recognized that seeking information

“twice in the same way” would pose a more serious materiality problem. Id.

at 1213. Seeking the same information again in a form that would not be

dispositive on its own, as the citizenship checkbox does, naturally poses an even

more serious problem under the Materiality Provision.

      For the same reason, Thurston, does not support finding the citizenship-

checkbox requirement material. Thurston concerned the repetition of basic

identifying information—name, address, and date of birth—on both an absentee-

ballot application and then, later, on a “voter statement” submitted along with the

absentee ballot. 2023 WL 6446015, at *1-2. It did not concern seeking the same

information concurrently by much stronger and much weaker means. It is “the

nature of the underlying information requested” that matters. Browning, 522 F.3d

at 1175. Here, the district court correctly deemed the information obtained through

the citizenship checkbox immaterial for voters who provided documentary proof of

citizenship.

      D.       Intervenors’ attempt to narrow the Materiality Provision to ad
               hoc voting procedures is unfounded.

      Intervenors argue (Br. 26-27) that the Materiality Provision “does not

displace state law” and instead deals only with “ad hoc requirements by state
                                        - 59 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 70 of 74




officials that were not mandated ‘under State law.’” Intervenors never advanced

this interpretation themselves in district court, only joining the State’s motion to

dismiss that did so in passing. See Doc. 127, at 26-27; Doc. 179, at 2. The district

court correctly rejected this unfounded interpretation (1-ER-191 n.16), and the

State has since abandoned it. No other court has embraced it either.

      Intervenors are incorrect that the statute “asks whether the error or omission

is material ‘under State law,’” while it “does not apply to errors or omissions that

state law determines are material.” Intervenors’ Br. 27 (citation omitted). The

phrase “under State law” modifies “qualified,” not “material”: The statute’s

concern is whether errors or omissions are “material in determining whether [an]

individual is qualified under State law.” 52 U.S.C. 10101(a)(2)(B) (emphasis

added). Intervenors would make surplusage of every word from “in determining”

to “qualified.”

      Read in full, the statute takes State-law qualifications as a given, asking

whether a given requirement is material in determining those qualifications. See

Schwier, 340 F.3d at 1297 (rejecting Georgia’s argument that Social Security

numbers were material because state law required them). Intervenors’ reading, by

contrast, would leave no function for the Materiality Provision. If anything

required by state law were necessarily material, the statute would serve little

purpose. See Vote.Org, 89 F.4th at 487 (“We reject that States may circumvent the

                                        - 60 -
              Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 71 of 74




Materiality Provision by defining all manner of requirements, no matter how

trivial, as being a qualification to vote and therefore ‘material.’”).

      Intervenors’ narrowing of the statute to “ad hoc requirements by state

officials” not mandated by state law (Intervenors’ Br. 27) is likewise meritless.

The preceding subsection of the statute, 52 U.S.C. 10101(a)(2)(A), already

addresses officials’ inconsistent application of election standards, prohibiting the

“different” application of such rules to voters in the same county or other

subdivision. This Court should not “adopt an interpretation of a congressional

enactment which renders superfluous another portion of that same law.” Republic

of Sudan v. Harrison, 587 U.S. 1, 12 (2019) (citation omitted).

      Intervenors mistakenly assume that the reach of a statute can be defined by

the salient examples of wrongdoing that motivated its enactment. Intervenors’

Br. 27 (citing U.S. Comm’n on C.R., Voting: 1961 United States Commission on

Civil Rights Report (1961), perma.cc/WA4A-QEYK (1961 Comm’n on C.R.

Report)). But “it is ultimately the provisions of our laws rather than the principal

concerns of our legislators by which we are governed.” Oncale v. Sundowner

Offshore Servs., Inc., 523 U.S. 75, 79 (1998). “The text of the resulting statute,

and not the historically motivating examples of intentional and overt racial

discrimination, is thus the appropriate starting point” for interpreting the




                                         - 61 -
               Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 72 of 74




Materiality Provision. Browning, 522 F.3d at 1173. That text reaches well beyond

the rogue registrars intervenors envision.

      Intervenors are wrong on the history anyway. On the very page they cite of

the U.S. Commission on Civil Rights’ 1961 report, the Commission faulted

“agencies of the State government, including the legislature,” not just the

“practices of particular registration officials.” See 1961 U.S. Comm’n on C.R.

Report 43. It thus is fully consonant with the Materiality Provision’s history and

purpose, as well as its text, to apply it here.




                                          - 62 -
             Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 73 of 74




                                 CONCLUSION

      This Court should affirm the district court’s permanent injunction against

enforcement of H.B. 2492’s presidential- and mail-voting provisions and its

citizenship-checkbox and birthplace requirements.

                                               Respectfully submitted,

                                               KRISTEN CLARKE
                                                Assistant Attorney General

                                               s/ Jonathan L. Backer
                                               BONNIE I. ROBIN-VERGEER
                                               JONATHAN L. BACKER
                                               MATTHEW N. DRECUN
                                                 Attorneys
                                                 Department of Justice
                                                 Civil Rights Division
                                                 Appellate Section
                                                 Ben Franklin Station
                                                 P.O. Box 14403
                                                 Washington, D.C. 20044-4403
                                                 (202) 532-3528




                                      - 63 -
               Case: 24-3188, 08/12/2024, DktEntry: 142.1, Page 74 of 74




                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

                    Form 8. Certificate of Compliance for Briefs

      Instructions for this form: http://www.ca9.uscourts.gov/forms/form08instructions.pdf

9th Cir. Case Number(s) 24-3188, 24-3559, 24-4029

       I am the attorney or self-represented party.
                           13,721
       This brief contains _______________ words, including __________ words

manually counted in any visual images, and excluding the items exempted by FRAP

32(f). The brief’s type size and typeface comply with FRAP 32(a)(5) and (6).

       I certify that this brief (select only one):

☐ complies with the word limit of Cir. R. 32-1.

☐ is a cross-appeal brief and complies with the word limit of Cir. R. 28.1-1.

☐ is an amicus brief and complies with the word limit of FRAP 29(a)(5), Cir. R.
  29-2(c)(2), or Cir. R. 29-2(c)(3).

☐ is for a death penalty case and complies with the word limit of Cir. R. 32-4.

☐ complies with the longer length limit permitted by Cir. R. 32-2(b) because (select
 only one):
    ☐ it is a joint brief submitted by separately represented parties.
    ☐ a party or parties are filing a single brief in response to multiple briefs.
    ☐ a party or parties are filing a single brief in response to a longer joint brief.

☐ complies with the length limit designated by court order dated                                               .

☐ is accompanied by a motion to file a longer brief pursuant to Cir. R. 32-2(a).

             s/ Jonathan L. Backer                                              August 12, 2024
Signature                                                               Date
(use “s/[typed name]” to sign electronically-filed documents)
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov
Form 8                                                                                         Rev. 12/01/22
